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1    SUMMIT DEFENSE
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7

8
                              UNITED STATES DISTRICT COURT
9                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
10

11   UNITED STATES OF AMERICA,                :
                                              :     Case No. 4:21-cr-00429-YGR
12                Plaintiff,                  :
                                              :     DEFENDANT'S REQUEST FOR
13                    vs.                     :     PERMISSION TO BRING
                                              :     EQUIPMENT INTO THE
14   RAY J. GARCIA,                           :     COURTHOUSE FOR TRIAL AND
                                              :     (PROPOSED) ORDER GRANTING
15                Defendant.                  :     THE REQUEST
                                              :
16

17           DEFENDANT RAY J. GARCIA, by and through counsel, and pursuant to
18   Paragraph 19 of the Court’s Pretrial Order No. 2 (Document 71).
19   Defendant Ray Joe Garcia hereby requests that the court grant
20   permission for him to bring equipment into the courthouse for trial.
21   This request is based on the attached Declaration of Counsel.
22

23   Date:    November 18, 2022
24

25   Respectfully submitted,
26

27                          ______________________________ ________________
28                                 JAMES T. REILLY, Attorney at Law
                                   Counsel for Defendant RAY J. GARCIA

                      DEFENDANT'S REQUEST FOR PERMISSION TO BRING
                        EQUIPMENT INTO THE COURTHOUSE FOR TRIAL
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1                     DECLARATION OF COUNSEL IN SUPPORT OF
                  DEFENDANT’S REQUEST FOR PERMISSION TO BRING
2                   EQUIPMENT INTO THE COURTHOUSE FOR TRIAL
3

4            I, James T. Reilly, hereby declare under penalty of perjury that
5    I am an attorney, duly licensed to practice law in the State of
6    California, State Bar License No. 67254.          I am counsel for the
7    Defendant in this case, Ray Joe Garcia.
8            In the Court’s Pretrial Order No. 2 (Document 71), the Court
9    ordered that the “… parties must provide the Court with a form of
10   order for (1) any equipment or supplies requested to be brought into
11   the courthouse …” for the trial of this matter.
12           The trial documents for this case are voluminous, currently
13   consisting of more than 46,000 pages of discovery, 348 proposed
14   exhibits, and numerous other documents.          I anticipate that the
15   materials needed by the defense during the trial will fill 16 or more
16   2½ inch looseleaf binders.
17           To facilitate bringing these binders into the courthouse and to
18   provide easy access to them while court is in session, I propose to
19   accomplish these purposes by using a library cart 26” long by 14”
20   deep by 32” tall.
21           I therefore respectfully request that the court grant this
22   Defendant’s Request for Permission to Bring Equipment into the
23   Courthouse.
24

25   Date:    November 18, 2022           Respectfully submitted,
26

27                                       _____________________________________
28                                          JAMES T. REILLY, Attorney at Law
                                           Counsel for Defendant RAY J. GARCIA

                      DEFENDANT'S REQUEST FOR PERMISSION TO BRING
                        EQUIPMENT INTO THE COURTHOUSE FOR TRIAL
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3
                           (PROPOSED) ORDER GRANTING
4                 DEFENDANT’S REQUEST FOR PERMISSION TO BRING
                    EQUIPMENT INTO THE COURTHOUSE FOR TRIAL
5

6
             Defendant’s Request for Permission to Bring Equipment Into the
7
     Courthouse for Trial having been considered by the court and good
8
     cause appearing therefore, permission is GRANTED and Defendant may
9
     bring into the courthouse the described library cart.
10

11
     IT IS SO ORDERED.
12

13
     Date:    ________________           _________________________________
14
                                         The Honorable Yvonne Gonzalez-Rogers
15                                       Judge, United States District Court
                                         Northern District of California
16                                       Oakland Division
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                      DEFENDANT'S REQUEST FOR PERMISSION TO BRING
                        EQUIPMENT INTO THE COURTHOUSE FOR TRIAL
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